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                                                                                                  8/14/2017 8:41 AM
                                           -                           .
                              Harris County County Civil Court at Law No 3                              Sian Stanart
                                                                                                        County Clerk
                                                                                                       Harris County


                                     Cause No<                               JURY FEE PAID
 Evodio Garcia                                        §                         In the County Court
                                                      §
                                                      §
 Plaintiff,                                           §
                                                      §
                                                      §
 vs.                                                  §                        Harris County, Texas
                                                      §
 Allstate Vehicle and Property Insurance              §
 Company and Rafael Angel Mancillas                   §
                                                      §
                                                      §
 Defendants.                                          §                    County Court


       PLAINTIFF’S ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR
                                           DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Evodio Garcia (“ Plaintiff’), and files this Plaintiff’s Original Petition

complaining of Allstate Vehicle and Property Insurance Company and Rafael Angel Mancillas (or

                                                              .
collectively, “ Defendants” ), and for cause of action Plaintiff would respectfully show the

following:

                                .
                               A DISCOVERY CONTROL PLAN

        I,   .   Plaintiff intends to conduct discovery under Level 1 of Texas Rules of Civil

Procedure 190.2 and 169.
                                                .
                                           B PARTIES

        2.       Plaintiff, Evodio Garcia, is an individual residing in Harris County, Texas at 9346

Golden Wood Ln., Houston, Texas 77086 2414. -
        3.       Defendant, Allstate Vehicle and Property Insurance Company, is an insurance

company doing business in Texas and may be served as follows: C T Corporation System 1999
Bryan St Ste 900 Dallas TX 75201.
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        4.      Defendant, Rafael Angei Mancilias, is an adjuster in the course and working scope

of employment with Allstate Vehicle and Property Insurance Company. Rafael Angel Mancilias

can be served at the residential address listed with the Texas Department of Insurance: 200 S Sugar
                           .
Rd, Edinburg, TX 78539 Plaintiff requests service at this time.

                                        C. JURISDICTION

        5.      The Court has jurisdiction over Allstate Vehicle and Property Insurance Company

because Allstate Vehicle and Property Insurance Company engages in the business of insurance in

the State of Texas, and the causes of action arise out of its business activities in the State of Texas,

including those in Harris County, Texas, with reference to this specific case   .
       6.      The Court has jurisdiction over Rafael Angel Mancilias because Rafael Angel

Mancilias is a resident of the State of Texas who engages in the business of adjusting insurance

claims in the State of Texas, and the causes of action arise out of Rafael Angel Mancillas’s business

activities in the State of Texas, with reference to this specific case.

                                             D. VENUE

       7.       Venue is proper in Harris County, Texas, because the insured property is situated

in Harris County, Texas. Tex. Civ. Prac. & Rem. Code § 15.032.

                                E. CONDITIONS PRECEDENT

       8.      All conditions precedent to recovery have been performed, waived, or have

occurred.



                        F. AGENCY AND RESPONDEAT SUPERIOR

       9.      Whenever in this petition it is alleged that Allstate Vehicle and Property Insurance

Company did any act or omission, it is meant that Allstate Vehicle and Property Insurance

Company itself or its agents, officers, servants, employees, or representatives did such act or

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 omission, and it was done with the fuil authorization or ratification of Allstate Vehicle and Property

 Insurance Company or done in the normal routine, course, and scope of the agency or employment
of Allstate Vehicle and Property Insurance Company or its agents, officers, servants, employees,

or representatives.

                                               G. FACTS

        10.
                                                                                   —
                 Plaintiff is a named insured under a property insurance policy 838009600 (the

          —
“ Policy” ) issued by Allstate Vehicle and Property Insurance Company. The Policy insures,
among other things, against losses from storm damage to Plaintiffs property, namely, the real

property and improvements located at 9346 Golden Wood Ln., Houston, Texas 77086 2414 (the   -
“ Property” ).
        11   .   On or about 03/29/2017, during the policy period, a storm caused damage to the

Property that was covered the Policy. The storm caused extensive damage to the Property including

but not limited to damage to the roof, ceilings, and fence.

        12.      Shortly after the storm, Plaintiff noticed damage to the Property. Plaintiff contacted

Allstate Vehicle and Property Insurance Company to notify Allstate Vehicle and Property

Insurance Company of the damage.

        13.      Plaintiff submitted a claim, 0457795218PLT, to Allstate Vehicle and Property

Insurance Company against the Policy for all roof damage, water damage, and wind damage the

Property sustained as a result of the storm.

        14 .     Plaintiff asked that Allstate Vehicle and Property Insurance Company honor its

contractual obligations to cover the cost of repairs to the Property.

        15.      Allstate Vehicle and Property Insurance Company assigned Rafael Angel

Mancillas to adjust the claim. Defendants, Allstate Vehicle and Property Insurance Company and

Rafael Angel Mancillas, conducted a substandard investigation of Plaintiffs claim , failed to
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thoroughly investigate Plaintiffs losses, and spent an inadequate amount of time on the

investigation. Rafael Angel Mancillas failed to fully inspect all damage to the Property.

        16.     Despite obvious, visible storm damage, Rafael Angel Mancillas, on his/her own

behalf and on behalf of Allstate Vehicle and Property Insurance Company, verbally misrepresented

                                                                                                -
to Plaintiff at the time of the inspection and thereafter that the Property had minimal storm related

damage. Rafael Angel Mancillas repeated this misrepresentation, again on his/her own behalf and

on behalf of Allstate Vehicle and Property Insurance Company, in a letter to Plaintiff dated

6/8/2017.

        17  .   Together, Defendants Allstate Vehicle and Property Insurance Company and

                                                -                                           -
Rafael Angel Mancillas set out to deny properly covered damages by performing a results oriented
investigation of Plaintiff s claim, which resulted in a biased, unfair, and inequitable evaluation of

Plaintiffs losses on the Property.

       18.      Defendant Allstate Vehicle and Property Insurance Company failed to perform its

contractual obligation to adequately compensate Plaintiff under the terms of the Policy. Alt

conditions precedent to recovery under the Policy have been performed by Plaintiff. Allstate

Vehicle and Property Insurance Company’s conduct constitutes a breach of the insurance contract

between Allstate Vehicle and Property Insurance Company and Plaintiff.

       19.      Even though the Property sustained obvious damage caused by a covered

occurrence, Defendants misrepresented the scope of damage to the Property and misrepresented
the scope of coverage under the Policy. Defendants’ conduct is a violation of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a)(1).

       20.      Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner,

although they were aware of their liability to Plaintiff under the Policy. Defendants’ conduct is a

violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §

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 541.060(a)(2)(A).

        21.       Defendants refused to adequately compensate Plaintiff under the terms of the

 Policy, and they failed to conduct a reasonable investigation of the claim. This conduct is a

 violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §

 541.060(a)(7).
        22.       Defendants failed to offer Plaintiff a reasonable explanation for why Plaintiff’s

 claim was denied. This conduct is a violation of the Texas Insurance Code, Unfair Settlement

          .
 Practices TEX. INS. CODE § 541.060(a)(3).

        23.       Defendant, Allstate Vehicle and Property Insurance Company, failed to timely
 acknowledge Plaintiffs claim, begin an investigation of the claim, and request all information

 reasonably necessary to investigate Plaintiffs claim within the statutorily mandated time of

                                 .
 receiving notice of the claim This conduct is a violation of the Texas Insurance Code, Prompt

                     .       .
 Payment of Claims TEX INS. CODE § 542.055.

        24.       Defendant, Allstate Vehicle and Property Insurance Company, failed to accept or
 deny Plaintiffs full and entire claim within the statutorily mandated time of receiving all the

                         .
 necessary information This conduct is a violation of the Texas Insurance Code, Prompt Payment

 of Claims. TEX. INS. CODE §542.056.

        25.    Defendant, Allstate Vehicle and Property Insurance Company, delayed full

 payment of Plaintiff 's claim longer than allowed, and , to date, Plaintiff has not received full

 payment for Plaintiffs claim. This conduct is a violation of the Texas Insurance Code, Prompt

 Payment of Claims. TEX. INS. CODE § 542.058.

        26.    Since the time Plaintiffs claim was presented to Defendant Allstate Vehicle and

 Property Insurance Company, the liability of Allstate Vehicle and Property Insurance Company to

 pay the full claim in accordance with the terms of the Policy has been reasonably clear.

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Nevertheless, Allstate Vehicle and Property Insurance Company has refused to pay, despite there

being no basis on which a reasonable insurance company would have relied to deny the claim.

This conduct is a violation of Allstate Vehicle and Property Insurance Company’ s duty of good
faith and fair dealing.

        27.     Defendants knowingly or recklessly made false representations, as described
                           .
above, as to material facts Alternatively, Defendants knowingly concealed all or part of material

information from Plaintiff.

        28.    To date, Plaintiff has yet to receive full payment for the damages to which Plaintiff
is entitled under the Policy. Plaintiff has suffered damages as a result of Defendants’ actions

described above. The mishandling of Plaintiff s claim also caused a delay in Plaintiffs ability to
fully repair the Property, resulting in additional damages.

                                         .
                                        H CAUSES OF ACTION

  I.    BREACH OF CONTRACT (against Allstate Vehicle and Property Insurance Company)

       29.     Defendant Allstate Vehicle and Property Insurance Company had a contract of

insurance with Plaintiff. Plaintiff met or performed all conditions precedent under the contract.

Allstate Vehicle and Property Insurance Company breached the terms of that contract by
wrongfully denying and /or underpaying the claim, and Plaintiff was damaged thereby.

       30.     Defendant Allstate Vehicle and Property Insurance Company is therefore liable to

Plaintiff for breach of contract.

 H.    PROMPT PAYMENT OF CLAIMS STATUTE (against Allstate Vehicle and Property
       Insurance Company)

       31.     Plaintiffs claim is a claim under an insurance policy with Defendant Allstate
Vehicle and Property Insurance Company, of which Plaintiff gave Allstate Vehicle and Property

                                    .
Insurance Company proper notice Allstate Vehicle and Property Insurance Company is liable for


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 the claim.

         32.    Defendant Allstate Vehicle and Property Insurance Company violated the prompt

 payment of claims provisions of the Texas Insurance Code, namely, section 542.051 et seq., by:

         33.    Failing to acknowledge or investigate the claim or to request from Plaintiff all .

 items, statements, and forms Allstate Vehicle and Property Insurance Company reasonably

 believed to be required within the time constraints provided by Tex. Ins. Code § 542.055; failing

 to notify Plaintiff in writing of its acceptance or rejection of the claim within the applicable time

 constraints provided by Tex. ins. Code § 542.056; and/or delaying payment of the claim following

 Allstate Vehicle and Property Insurance Company’s receipt of all items, statements, and forms

 reasonably requested and required, longer than the amount of time provided by Tex. Ins. Code §

 542.058.
        34.     Defendant Allstate Vehicle and Property Insurance Company is therefore liable to

 Plaintiff for damages. In addition to Plaintiffs claim for damages, Plaintiff is further entitled to

 18% interest and attorney’s fees as set forth in section 542.060 of the Texas Insurance Code.

   .
 III    UNFAIR SETTLEMENT PRACTICES/BAD FAITH (against all Defendants)

        35.     Each of the foregoing paragraphs is incorporated by reference here fully.

        36.                                                             .
                As explained further herein, Defendants violated Tex Ins. Code § 541.060(a) by

 engaging in unfair settlement practices.
         DEFENDANT Allstate Vehicle and Property Insurance Company

        37.     Defendant Allstate Vehicle and Property Insurance Company engaged in unfair

 settlement practices by misrepresenting to Plaintiff a material fact or policy provision relating to

 the coverage at issue; failing to attempt in good faith to effectuate a prompt, fair, and equitable

 settlement of a claim after Allstate Vehicle and Property Insurance Company’s liability became

 reasonably clear; failing to promptly provide Plaintiff with a reasonable explanation of the basis
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 in the Policy in relation to the facts or applicable law for Allstate Vehicle and Property Insurance
 Company’s denial of a claim or offer of a compromise settlement of a claim ; failing within a

 reasonable time to affirm or deny coverage of a claim to Plaintiff or submit a reservation of rights

 to Plaintiff; and refusing to pay the claim without conducting a reasonable investigation with

 respect to the claim.

         38.         Each of the aforementioned unfair settlement practices was committed knowingly

 by Defendant Allstate Vehicle and Property Insurance Company and Was a producing cause of

 Plaintiffs damages. Allstate Vehicle and Property Insurance Company is therefore liable to

 Plaintiff for engaging in such unfair settlement practices and causing Plaintiff damages.

          DEFENDANT Rafael Angel Mancillas
        39.          Defendant Rafael Angel Mancillas was a contractor and/or adjuster assigned by

 Rafael Angel Mancillas to assist with adjusting the claim. Rafael Angel Mancillas was charged

 with investigating the claim and communicated with the insured about the Policy terms. Insurance

 adjusters are “ persons engaged in the business of insurance” under Tex. Ins. Code 541.001, et seq.,

 and are individually liable for their individual violations of the Texas Insurance Code. See Liberty

 Mut. Ins. Co v. Garrison Contractors, Inc., 966 S.W.2d 482, 486 (Tex . 1998).
                 .
        40   .       Rafael Angel Mancillas was tasked with the responsibility of conducting a thorough

 and reasonable investigation of Plaintiff s claim, including the discovery of covered damages and

 fully quantifying covered damages to Plaintiffs Property.

        41 .                                                                  -
                     Rafael Angel Mancillas conducted a substandard, results oriented inspection of the

 Property.

        42.          As such, Rafael Angel Mancillas failed to discover covered damages and/or fully

 quantify covered damages to Plaintiffs Property, as the Policy and Texas law require.

        43.          Further, Rafael Angel Mancillas misrepresented material facts to Plaintiff, that is,
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 the existence and true value of Plaintiff s covered losses. Additionally, Rafael Angel Mancillas

 failed to provide Plaintiff with a reasonable explanation as to why Rafael Angel Mancillas did not

 compensate Plaintiff for the covered losses, or the true value thereof.

         44.    Thus, Rafael Angel Mancillas engaged in unfair settlement practices by:
 misrepresenting to Plaintiff a material fact or policy provision relating to the coverage at issue;

 failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of a claim

 after Allstate Vehicle and Property Insurance Company’ s liability became reasonably clear; failing

 to promptly provide Plaintiff with a reasonable explanation of the basis in the.Policy in relation to

 the facts or applicable law for its adjuster’ s denial of the claim or offer of a compromise settlement

 of the claim; and/or failing to conduct a reasonable investigation of Plaintiffs claim. Each of the

 aforementioned unfair settlement practices was committed knowingly by Rafael Angel Mancillas

 and was a producing cause of Plaintiffs damages , Rafael Angel Mancillas is therefore liable to

 Plaintiff for engaging in such unfair settlement practices and causing Plaintiff damages.

 IV.    DTPA VIOLATIONS (against all Defendants)

        45.     Each of the foregoing paragraphs is incorporated by reference here fully.

        46.     At all material times herein, Plaintiff was a “ consumer” who purchased insurance

 products and services- from Defendants, and the products and services form the basis of this action   .
        47.     Defendants have violated the Texas Deceptive Trade Practices Consumer

 Protection Act (“ DTPA” ) in at least the following respects:

        48.     Defendants represented that the Policy confers or involves rights, remedies, or

 obligations which it does not have, or involve, or which are prohibited by law; Defendants

 represented goods, products, or services had sponsorship, approval, characteristics, uses, benefits,

 or quantities they do not have; Defendants failed to disclose information concerning goods or

 services which was known at the time of the transaction when such failure to disclose such

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  information was intended to induce Plaintiff into a transaction Plaintiff would not have entered

  into had the information been disclosed; Defendants, by accepting insurance premiums but refusing

  without a reasonable basis to pay benefits due and owing engaged in an unconscionable action or

  course of action as prohibited by the DTPA § 17.50(a)( l )(3) in that Defendants took advantage of

  Plaintiffs lack of knowledge, ability, experience, and capacity to a grossly unfair degree ,that also

  resulted in a gross disparity between the consideration paid in the transaction and the value

  received, in violation of Chapter 541 of the Insurance Code; generally engaging in unconscionable

  courses of action while handling Plaintiffs claim; and/or violating the provisions of the Texas
  Insurance Code, as further described elsewhere herein.

          49.    As a result of Defendants’ violations of the DTPA, Plaintiff suffered actual

  damages, and such violations     were a producing, actual, and proximate cause of Plaintiffs
  damages. Therefore, Defendants are liable to Plaintiff for violations of the DTPA   .
          50.    Further, Defendants knowingly and/or intentionally committed the acts complained

  of herein. As such, Plaintiff is entitled to exemplary and/or treble damages pursuant to the DTPA

  and Texas Insurance Code § 541.152(a)-( b).

   V .    BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING (against Allstate
          Vehicle and Property Insurance Company)

          51.    Defendant Allstate Vehicle and Property Insurance Company breached the

  common law duty of good faith and fair dealing owed to Plaintiff by denying or delaying payment

  on the claim when Allstate Vehicle and Property Insurance Company knew or should have known

  liability was reasonably clear. Allstate Vehicle and Property Insurance Company’s conduct

  proximately caused Plaintiffs damages.

          52.    Defendant Allstate Vehicle and Property Insurance Company is therefore liable to

  Plaintiff.


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         VI.    ATTORNEY’S FEES

                53  .   '
                            Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

        Defendants and agreed to pay reasonable attorney’s fees and expenses through trial and any appeal.

                54.         Plaintiff is entitled to recover reasonable and necessary attorney’s fees pursuant to
                                     .                  -
        Tex. Civ. Prac. & Rem Code §§ 38.001 38.003 because Plaintiff is represented by an attorney,

        presented the claim to Defendants, and Defendants did not tender the just amount owed before the

        expiration of the 30th day after the claim was presented.

               55.          Plaintiff is additionally or alternatively entitled to recover reasonable and necessary

                                             .              .
        attorney’s fees pursuant to Tex Bus. & Com Code § 17.50(d).

               56.          Plaintiff is additionally or alternatively entitled to recover reasonable and necessary
        attorney’s fees pursuant to sections 541.152 and 542.060 of the Texas Insurance Code            .
                                                     I. KNOWLEDGE
               57.          Each of the acts described above, together and singularly, was done “ knowingly,”

        as that term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs damages

        described herein.
                                                       J. DAMAGES

               58.          Plaintiff would show that all of the aforementioned acts, taken together or

        singularly, constitute the producing causes of the damages sustained by Plaintiff.

               59.          Due to the mishandling of Plaintiff s claim by Defendants, the damages caused by

        the 03/29/201? storm have not been fully addressed or repaired in the months since the storm,

        causing further damages to the Property, and causing undue hardship and burden to Plaintiff.

'
    '
        These damages are a direct result of Defendants’ mishandling of Plaintiffs claim in violation of

        the laws set forth above.

               60 .         For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which
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  is the amount of the claim, together with attorney’ s fees.

          61 .    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

  Plaintiff is entitled to actual damages, which include the loss of the benefits that should have been

  paid pursuant to the Policy, mental anguish, court costs, and attorney’s fees. For knowing conduct

                                                                                               .
  of the acts described above, Plaintiff asks for three times the actual damages. TEX. INS CODE §

  541.152.

          62.     For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,
  Plaintiff is entitled to the amount of the claim, as well as eighteen (18) percent interest per annum
  on the amount of such claim as                                                     .     .
                                      damages, together with attorney’ s fees. TEX INS CODE §

  542.060 .
          63.     For breach of the common law duty of good faith and fair dealing, Plaintiff is

  entitled to compensatory damages, including all forms of loss resulting from the insurer’s breach
  of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the

  insurer owed , exemplary damages, and damages for emotional distress.

          64.     For fraud, Plaintiff is entitled to recover actual damages, as well as exemplary

  damages for knowingly fraudulent and malicious representations, along with attorney’ s fees,

  interest, and court costs.

         65   .   For the prosecution and collection of this claim, Plaintiff was compelled to engage

  the services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is

  entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorney in the

  preparation and trial of this action.

                         K. STATEMENT OF RELIEF AND DAMAGES

         66   .   As required by Rule 47( b), Texas Rules of Civil Procedure, Plaintiffs counsel

  states that the damages sought are in an amount within the jurisdictional limits of this Court. As

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 required by Rule 47(c), Texas Rules of Civil Procedure, Plaintiffs counsel states that Plaintiff is

 seeking monetary relief of less than $100,000, including damages of any kind, penalties, costs,

 expenses, prejudgment interest, and attorney’ s fees. A jury, however, will ultimately determine

                                                                                  -
 the amount of monetary relief actually awarded. Plaintiff also seeks pre judgment and post ¬

 judgment interest at the highest legal rate.

                                 L. RESERVATION OF RIGHTS

         67.     Plaintiff reserves the right to prove the amount of damages at trial. Plaintiff

 reserves the right to amend this petition to add additional counts upon further discoveiy and as the

 investigation continues .
                                        M. JURY DEMAND

         68.     Plaintiff hereby request that all causes of action alleged herein be tried before a jury

 consisting of citizens residing in Harris County, Texas. Plaintiff hereby tenders the appropriate

 jury fee.

                                N. REQUEST FOR DISCLOSURE

         69.     Under Texas Rules of Civil Procedure 190 and 194, Plaintiff requests that

 Defendants disclose, within fifty (50) days from the date this request is served, the information or

 material described in Rules 194,2.

                                                PRAYER
         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

 Plaintiff has and recover such sum as would reasonably and justly compensate Plaintiff in

 accordance with the rules of law and procedure, as to actual damages, trebled, under the Texas

 Insurance Code and Texas Deceptive Trade Practices Consumer Protection Act, and all punitive

 and exemplary damages as may be found. In addition, Plaintiff requests the award of attorney’s

 fees for the trial and any appeal of this case, for all court costs on Plaintiffs behalf expended, for

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                         -
 pre-judgment and post judgment interest as allowed by law, and for any other and further relief,

 either at law or in equity, to which Plaintiff is justly entitled.


                                                          Respectfully submitted ,

                                                          ZAR LAW FIRM

                                                          /s/Matthew M Zarehouni
                                                          Matthew Zarghouni
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                                                                      -
                                                                        -
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                                                          ATTORNEY FOR PLAINTIFF




  s


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